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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
STATE OF NEW YORK, et al.,             )
                                       )
                  Plaintiffs,          )
                                       )
                  v.                   )                Civil Action No. 25-10601-MJJ
                                       )
LINDA MCMAHON, et al.,                 )
                                       )
                  Defendants.          )
_______________________________________)

_______________________________________
                                       )
SOMERVILLE PUBLIC SCHOOLS, et al.,     )
                                       )
                  Plaintiffs,          )
                                       )
                  v.                   )                Civil Action No. 25-10677-MJJ
                                       )
DONALD J. TRUMP, et al.,               )
                                       )
                  Defendants.          )
_______________________________________)


                         ORDER ON DEFENDANTS’ MOTION TO STAY

                                         May 23, 2025

JOUN, D.J.

        On May 22, 2025, the Court issued a Preliminary Injunction Order that enjoined the

 Government from carrying out the reduction-in-force announced on March 11, 2025; from

 implementing President Trump’s March 20, 2025 Executive Order; and from carrying out the

 President’s March 21, 2025 Directive to transfer management of federal student loans and special

 education functions out of the Department. [25-cv-10601 Doc. No. 128; 25-cv-10677 Doc No.
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    45]. The Preliminary Injunction Order additionally reinstated federal employees whose

    employment was terminated or otherwise eliminated on or after January 20, 2025, as part of the

    reduction-in-force announced on March 11, 2025 to restore the Department to the status quo

    such that it is able to carry out its statutory functions. [Id.]. Pursuant to the Preliminary Injunction

    Order, the Court also issued an Order consolidating the two cases, with case number 25-cv-10601

    being the lead case. [25-cv-10601 Doc. No. 129; 25-cv-10677 Doc. No. 46]. That same day, the

    Government filed a Notice of Appeal Consolidated Plaintiffs’ Motions for Preliminary

    Injunction, [25-cv-10601 Doc. 130; 25-cv-10677 Doc. No. 47]. The appeal was docketed in the

    United States Court of Appeals for the First Circuit under case number 25-1495. Now pending

    before the Court is the Government's Motion to Stay Preliminary Injunction Pending Appeal.

    [Doc. No. 133]. 1

          In assessing the merits of a motion to stay a preliminary injunction pending appeal,

reviewing courts consider four factors: “(1) whether the stay applicant has made a strong

showing that [it] is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of a stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S.

418, 426 (2009). For the same reasons stated in my Preliminary Injunction Order, the

Government has not demonstrated that they are likely to prevail on the merits and the remaining

equitable factors do not favor the Government. The Government has not provided evidence to

show that it will be irreparably injured absent a stay; instead, as elucidated in my Preliminary

Injunction Order, Consolidated Plaintiffs have demonstrated an imminent risk of irreparable




1
 Consolidated Plaintiffs filed an opposition to the Motion for Stay on the morning of May 23, 2025.
[Doc. No. 135].
                                                           2
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harm. The Department must be able to carry out its functions and its obligations under the

DEOA and other relevant statutes as mandated by Congress. Thus, I DENY Defendants’ Motion.



SO ORDERED.

                                             /s/ Myong J. Joun
                                             United States District Judge




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